                         IN THE UNITED STATES COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
     Plaintiff,                                   )
                                                  )
       VS.                                        )           NO. 18-00293-CR-W-DGK
                                                  )
LEEANNA SCHROEDER                                 )
     Defendant.                                   )
                                                  )

                       MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant Leeanna Schroeder, through counsel, under Rule 15.1 of Local Rules of

Procedure for the United States District Court for the Western District of Missouri moves the Court

for leave to file exhibits under seal as cited to in her Second Motion for Reconsideration of Bond

(Doc. 410).


                                              Respectfully submitted,


                                              /S/ CYNTHIA M. DODGE

                                              Cynthia M. Dodge
                                              312 SW Greenwich Drive, #10
                                              Lee’s Summit, MO 64082
                                              MO#47754 KS#78371
                                              (816) 246-9200
                                              FAX (816) 246-9201
                                              cindy@cdodgelaw.com
                                              ATTORNEY FOR DEFENDANT

                            CERTIFICATE REGARDING SERVICE

I hereby certify that it is my belief and understanding that counsel for plaintiff, and counsel for
the co-defendants in this matter are participants in the Court’s CM/ECF program and that
separate service of the foregoing document is not required beyond the Notification of Electronic
Filing to be forwarded on January 20, 2021 upon the filing of the foregoing document.

/s/ Cynthia M. Dodge
CYNTHIA M. DODGE



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